
PER CURIAM.
We granted certiorari in this case, and after hearing oral argument and considering the record we find the order of the Judge of Industrial Claims is based on competent substantial evidence under our rule as stated in United States Casualty Co. v. Maryland Casualty Co., 55 So.2d 741 (Fla.1951). It was therefore error for the Industrial Relations Commission to reverse the same. Hence, the ruling of the Industrial Relations Commission is quashed, with directions to reinstate the order of the Judge of Industrial Claims.
It is so ordered.
ROBERTS, C. J., and ERVIN, CARLTON, McCAIN and DEKLE, JJ., concur.
BOYD, J., dissents.
